
43 So.3d 776 (2010)
David E. ISOM, Appellant,
v.
STATE of Florida, Appellee.
No. 5D10-517.
District Court of Appeal of Florida, Fifth District.
July 30, 2010.
Opinion Denying Rehearing September 10, 2010.
David E. Isom, Cross City, pro se.
Bill McCollum, Attorney General, Tallahassee, and Allison L. Morris, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
In 1998, pursuant to a negotiated agreement with the State, David E. Isom entered no contest pleas in several cases. He now makes his thirteenth visit to this Court since his convictions and sentences.
We issued an order pursuant to State v. Spencer, 751 So.2d 47 (Fla.1999), directing Isom to show cause why he should not be barred from filing more pro se challenges to his convictions. Having considered his response and finding it to be unpersuasive, we now prohibit Isom from filing with this Court any further pro se pleadings concerning Brevard County Circuit Court Case Nos. 98-4360-CFA, 98-2853-CFA, 98-2854-CFA, 98-2855-CFA, and 98-2856-CFA. See Pettway v. McNeil, 987 So.2d 20, 23 (Fla.2008) (holding that rejecting future pleadings, motions, or other filings relating to convictions and sentences is appropriate sanction "in order to preserve the right of access for all litigants and promote the interests of justice").
The Clerk of this Court is directed not to accept any further pro se filings from Isom concerning this case. Any more pleadings or papers regarding this case will be summarily rejected by the Clerk, unless signed by a member in good standing of The Florida Bar. See Isley v. State, 652 So.2d 409, 411 (Fla. 5th DCA 1995) ("Enough is enough."). The Clerk of this Court is further directed to forward a certified copy of this opinion to the appropriate Department of Corrections institution or facility pursuant to section *777 944.279(1), Florida Statutes (2010), for consideration of disciplinary procedures.
AFFIRMED; FUTURE PRO SE FILINGS PROHIBITED; CERTIFIED COPY FORWARDED TO DEPARTMENT OF CORRECTIONS.
PALMER, ORFINGER and LAWSON, JJ., concur.

ON MOTION FOR REHEARING
ORFINGER, J.
David Isom moves for rehearing, following this Court's opinion barring him from filing further pro se pleadings and directing the Clerk of this Court to forward a certified copy of the opinion to the Department of Corrections (DOC) for consideration of disciplinary procedures under section 944.279(1), Florida Statutes (2010). Citing Hall v. State, 752 So.2d 575 (Fla. 2000), Isom contends that this Court lacks the authority to suggest that DOC discipline him for his abuse of the court system.
Section 944.279 was amended, effective October 1, 2004, and now provides:
944.279. Disciplinary procedures applicable to prisoner for filing frivolous or malicious actions or bringing false information before court.
(1) At any time, and upon its own motion or on motion of a party, a court may conduct an inquiry into whether any action or appeal brought by a prisoner was brought in good faith. A prisoner who is found by a court to have brought a frivolous or malicious suit, action, claim, proceeding, or appeal in any court of this state or in any federal court, which is filed after June 30, 1996, or to have brought a frivolous or malicious collateral criminal proceeding, which is filed after September 30, 2004, or who knowingly or with reckless disregard for the truth brought false information or evidence before the court, is subject to disciplinary procedures pursuant to the rules of the Department of Corrections. The court shall issue a written finding and direct that a certified copy be forwarded to the appropriate institution or facility for disciplinary procedures pursuant to the rules of the department as provided in s. 944.09.
(2) This section does not apply to a criminal proceeding.
§ 944.279(1) &amp; (2), Fla. Stat. (2010) (emphasis added).[1] The amendment was intended to nullify the Florida Supreme Court's decision in Hall, which held that the pre-amendment version of section 944.279 did not authorize disciplinary proceedings in collateral criminal proceedings. See ch.2004-285, § 1, Laws of Fla.; Hall, 752 So.2d 575. While a court lacks authority to direct DOC to discipline a prisoner by forfeiting gain time or imposing some other disciplinary sanction, it is authorized to recommend that DOC take this action when it finds that the prisoner has brought a frivolous or malicious collateral criminal proceeding.
REHEARING DENIED.
PALMER and LAWSON, JJ., concur.
NOTES
[1]  Previously, section 944.279(2) read: "This section does not apply to a criminal proceeding or a collateral criminal proceeding." § 944.279(2), Fla. Stat. (2003) (emphasis added).

